THE COURT.
This petition for a writ of prohibition is based upon the same order and the identical facts which are disclosed in a similar petition between the same parties, in which previous proceeding an opinion of this court was filed January 28, 1933 (ante, p. 282), except that this petition involves the nonpayment of installments of alimony which occurred subsequent to those which were involved in the former proceeding.
To the petition in the present proceeding a demurrer was filed. It is asserted the petition fails to state facts sufficient to constitute a cause of action.
[1] Upon the authority of Thomas v. Superior Court, ante,
p. 282 [18 P.2d 755], the demurrer to the petition for a writ of prohibition in the present proceeding is sustained and the writ is discharged. *Page 787 